   Case: 1:19-cv-05610 Document #: 328 Filed: 08/12/21 Page 1 of 4 PageID #:4356




                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

Romspen Mortgage Limited Partnership,

                                   Plaintiff,
                                                                No. 19-cv-05610
                          v.
                                                                Judge Matthew F. Kennelly

SB Winnetka, LLC, et al.,                                       NON-RESIDENTIAL

                                   Defendants.

                  ORDER APPROVING REPORT OF SALE AND DISTRIBUTION,
                       CONFIRMING SALE AND ORDER OF EVICTION

        This matter comes to be heard on Plaintiff Romspen Mortgage Limited Partnership’s

(the “Plaintiff”), motion for entry of an order approving the Report of Sale and Distribution,

confirming the sale of the premise, which is the subject of the matter captioned above and

described as:

        PARCEL 7:

        THAT PART OF LOT 16 (EXCEPT THE EAST 40 FEET THEREOF) DESCRIBED AS
        FOLLOWS: COMMENCING AT THE SOUTHEAST CORNER OF LOT 16, THENCE WEST
        ALONG THE SOUTH LINE OF SAID LOT 16, A DISTANCE OF 108.63 FEET TO THE
        POINT OF BEGINNING, THENCE CONTINUING WEST ALONG THE SOUTH LINE OF
        LOT 16, A DISTANCE OF 41.37 FEET, TO THE WEST LINE OF SAID LOT 16, THENCE
        NORTH ALONG THE WEST LINE OF SAID LOT 16, A DISTANCE OF 100 FEET, TO
        THE NORTH LINE OF SAID LOT 16, THENCE EAST ALONG THE NORTH LINE OF
        SAID LOT 16, A DISTANCE OF 61.47 FEET, THENCE SOUTH AND PARALLEL TO THE
        EAST LINE OF SAID LOT 16 A DISTANCE OF 44.18 FEET, THENCE WEST AND
        PARALLEL TO THE SOUTH LINE OF SAID LOT 16, A DISTANCE OF 20.10 FEET,
        THENCE SOUTH AND PARALLEL TO THE EAST LINE OF SAID LOT 16, A DISTANCE
        OF 55.82 FEET TO THE SOUTH LINE OF SAID LOT 16, BEING ALSO A POINT OF
        BEGINNING ALL IN MCGUIRE AND ORR’S ARBOR VITAE ROAD SUBDIVISION OF
        BLOCK 4 AND THAT PART OF BLOCK 5 LYING EAST OF THE EAST LINE OF
        LINCOLN AVENUE IN WINNETKA, A SUBDIVISION OF THE NORTHEAST 1/4 OF
        SECTION 20, AND THE NORTH FRACTIONAL 1/2 OF SECTION 21, TOWNSHIP 42
        NORTH, RANGE 13 EAST OF THE THIRD PRINCIPAL MERIDIAN, IN COOK COUNTY,
        ILLINOIS.


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   Case: 1:19-cv-05610 Document #: 328 Filed: 08/12/21 Page 2 of 4 PageID #:4357




        PARCEL 8:

        EASEMENTS APPURTENANT TO AND FOR THE BENEFIT OF PARCEL 7 AS
        CONTAINED IN THE MUTUAL EASEMENT AGREEMENT AND MUTUAL GRANT OF
        EASEMENT RECORDED NOVEMBER 29, 2016 AS DOCUMENT 1633449394 FOR
        INGRESS AND EGRESS, ALL IN COOK COUNTY, ILLINOIS.

        PIN: 05-21-100-016-0000

        Common Address: 727 Elm Street, Winnetka, Illinois 60093

        (The “Property”).

        Due notice of said motion having been given, the Court having examined said report

and being fully advised in the premises, FINDS:

        A.       That the periods of redemption and reinstatement expired, or were waived,

without either redemption or reinstatement;

        B.       That this Court obtained personal jurisdiction over each defendant who is

personally liable to Plaintiff for the deficiency from the sale.

        C.       That all notices required by 735 ILCS 5/15-1507(c) were given;

        D.       That said sale was fairly and properly conducted;

        E.       That Judicial Sales Corporation, hereinafter “Selling Officer,” has in every

respect proceeded in accordance with the terms of this Court’s Judgment of Foreclosure

and Order for Judicial Sale;

        F.       That Plaintiff, or the assignee of its Certificate of Sale, is entitled to a deed of

conveyance and possession of Property.

        G.       That justice was done.




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   Case: 1:19-cv-05610 Document #: 328 Filed: 08/12/21 Page 3 of 4 PageID #:4358




        IT IS THEREFORE ORDERED:

        1.       That the sale of the Property and the Report of Sale and Distribution filed by

the Selling Officer are hereby approved, ratified, and confirmed;

        2.       That the proceeds of the sale be distributed in accordance with the Report of

Sale and Distribution;

        3.       That Plaintiff’s fees and costs arising between entry of the Judgment of

Foreclosure [Dkt. 234] and entry of this Order are approved;

        4.       That the proceeds of the sale are insufficient to satisfy the Judgment of

Foreclosure.

        5.       That the Property is free and clear of all liens and encumbrances, except

general real estate taxes and special assessments, if any.

        6.       That upon confirmation under this order and upon request by the successful

bidder, or the assignee of the Certificate of Sale, the Selling Officer must execute and

deliver—to the successful bidder (or its assignee)—a deed sufficient to convey fee title to

the Property and identifying the successful bidder (or its assignee) as grantee.

        7.       That the deed to be issued to the successful bidder is a transaction that is

exempt from all transfer taxes—state and local—and the Cook County Recorder of Deeds is

ordered to permit immediate resolution of that deed without any exemption stamps.

        8.       That the successful bidder, or its assignee, is entitled to, and will have

possession of, the Property as of a date 30 days after this Court renders this order, without

further judicial action or court order, as provided in Section 15-1701 of the Illinois

Mortgage Foreclosure Law (735 ILCS 5/15-1701).




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   Case: 1:19-cv-05610 Document #: 328 Filed: 08/12/21 Page 4 of 4 PageID #:4359




        9.       If possession is withheld in defiance of paragraph 7, the Sheriff of Cook

County and the United States Marshal of the Northern District of Illinois are each directed

to evict and dispossess SB Winnetka, LLC and SB One Winnetka, LLC, and any of its

respective agents, officers, employees, directors, members, assigns and successors from the

Property without further judicial action or court order.

        10.      The municipality or county may contact the party below with concerns about

the real property:

                 Lynne Moore
                 Mortgage Administration
                 Romspen Investment Corporation
                 162 Cumberland Street, Suite 300
                 Toronto, ON M5R 3N5
                 416-928-5117

        11.      That there shall be a deficiency judgment entered in the amount of

$19,733,340.52, personally against defendants SB Winnetka, LLC and SB One Winnetka,

LLC, in favor of Plaintiff.


        12.      That Ryan McNaughton is formally discharged as court appointed receiver

for the Property only.

                                                        ____________________________________________________
Dated: August 12, 2021                                  HONORABLE JUDGE MATTHEW F. KENNELLY




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